
LYONS, Judge.
Delivered the resolution of the Court, that there was no error in the decree as to the debt; but, that it was erroneous in allowing interest during the war, according to the case of M’Call v. Turner, 1 Call 133, in this Court; and that the decree was likewise erroneous, in continuing the interest, after the date of the decree. That, consequently, the eight years during the war, were to be deducted, and the interest to be carried down to the time of the decree only, as was done in Deans v. Scriba, 2 Call 415, and Deans v. Kunkrall, at the last term.
The decree was as follows:.
‘ ‘The Court is of opinion, that there is error in the said decree, in allowing to the appellees interest on the sum recovered, for the eight years during which the war continued between the United States and Great Britain, and during which, the appellees, who are British subjects, were non-residents within this Commonwealth, " *and no payment or tender could have been made to them; and, also, in continuing the interest to the time of payment instead of to the time of the decree, and making the recovery to be of the aggregate of principal and interest.”
